Case 2:17-cV-05698-ER Document 1 Filed 12/19/17 Page 1 of 36

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SHEET METAL WORKERS' LOCAL 19 : CIVIL ACTION
1301 South Columbus Boulevard :
Philadelphia, PA 19147

' N()

and

SHEET METAL WORKERS' HEALTH &
WELFARE FUND OF LOCAL NO. 19
1301 South Columbus Boulevard
Philadelphia, PA 19147

and

SHEET METAL WORKERS' ANNUITY FUND
OF LOCAL NO. 19

1301 South Columbus Boulevard

Philadelphia, PA 19147

and

SHEET METAL WORKERS' WORK ASSESSMENT:
OF LOCAL NO. 19 :
1301 South Columbus Boulevard

Philadelphia, PA 19147

and

SHEET METAL WORKERS' J()INT
APPRENTICESHIP FUND OF PHILADELPHIA
AND VICINITY

1301 South Columbus Boulevard

Philadelphia, PA 19147

and

GARY MASINO, TRUSTEE

SHEET METAL WORKERS' LOCAL 19
BENEFIT FUNDS

1301 South Columbus Boulevard
Philadelphia, PA 19147,

Plaintiffs,

Case 2:17-cV-05698-ER Document 1 Filed 12/19/17 Page 2 of 36

FREEDOM HEATING & AIR CONDITIONING
a/k/a FREEDOM MECHANICAL
3127 Broad Street
()ttsville, PA 18942
and
MICHAEL McSTRAVICK

3127 Broad Street
Ottsville, PA 18942

Defendants.

COMPLAINT IN CONFESSION

 

The Parties

1. The Plaintiffs in this action are Sheet Metal Workers' Local No. 19 ("Plaintiff
Union"), an unincorporated labor organization within the meaning of Section 301 of the Labor
Management Relations Act of 1947, as amended, 29 U.S.C. Section 185, with its principal office
located at 1301 South Columbus Boulevard, Philadelphia, PA 19147, and Sheet Metal Workers'
Health & Welfare Fund of Local No. 19, Sheet Metal Workers' Annuity Fund of Local No. 19,
Sheet Metal Workers’ Work Assessment of Local No. 19, and Sheet Metal Workers‘ Joint
Apprenticeship Fund of Philadelphia and Vicinity, ("Plaintiff Funds"), which are due and owing the
relief sought from Freedom Heating and Air Conditioning a/k/a Freedom Mechanical and Michael
McStravick (collectively, the "Defendants") as set forth below. Plaintiff Union brings this action on
its own behalf and on behalf of its members who are participants in and beneficiaries of Plaintiff
Funds. Plaintiff Gary Masino is a trustee and fiduciary of the Funds, and brings this action in such
capacity on behalf of the Funds.

2. Defendant Freedom Heating and Air Conditioning a/k/a Freedom Mechanical

(“Freedom”) is a corporation doing business at 3127 Broad Street, Ottsville, PA 18942. Defendant
Michael l\/lcStravick (“Owner”) is the Owner of Freedom.

3. One or both Defendants are engaged in commerce within the meaning of Section 2(6)

of the Labor Management Relations Act of 1947, as amended, 29 U.S.C. Section 152(6), and has

employed members of Plaintiff Union pursuant to a collective bargaining agreement in the

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Commonwealth of Pennsylvania
4. One or both Defendants is an Employer within the meaning of Section 2(2) and

Section 301 of the Labor Management Relations Act of 1947, as amended, 29 U.S.C. Section

 

152§2) and Section 185; and Sections 3(5) and 515 or the Employee Retirement income Security Act
of 1974 (ERISA), 29 U.S.C. Section 1002(5) and Section 1145.
Jurisdiction & Venue

5. Jurisdiction in this District Court is proper pursuant to Section 301 of the Labor
Management Relations Act of 1947, as amended, 29 U.S.C. Section 185, in that one or both
Defendants is an employer within the meaning of the Labor Management Relations Act, and has
been and continue to be a party to collective bargaining agreement which forms the basis of this
litigation; and 28 U.S.C. Section 1337, providing for original jurisdiction in civil actions that arise
out of an Act of Congress regulating commerce.

6. Jurisdiction of this District Court is also proper pursuant to Sections 502 and Section
515 of the Employee Retirement Income Security Act of 1974 (ERISA), 29 U.S.C. §§1132 and
1145. The Eastern District of Pennsylvania is the proper venue under ERISA Section 502(e)(2), 29
U.S.C. §1132(e)(2), because the Plaintiff Funds are administered in this judicial district.

Cause of Action

7. T he Plaintiff Union and Defendant Freedom are parties to a collective bargaining
agreement(s), which requires that the Defendant make certain contributions to the Plaintiff Funds
and remit certain payments to the Plaintiff Union.

8. Freedom has entered into a payment agreement for the repayment of monies due the
Plaintiffs pursuant to said collective bargaining agreement(s), and in the event of default, Freedom
and Owner have agreed to the entry of judgment against them in an amount equal to that set forth in
the Judgment Note (“Agreement”), a true and correct copy of which is attached hereto as Exhibit A.
The Agreement provides that Plaintiffs may confess judgment on Defendants’ behalf in the event of
default thereunder. Exhibit A, 1[6.

9. Pursuant to paragraph l of the Agreement, Plaintiffs are entitled to interest on the

unpaid principal to run at the rate of 4.25 % until the total principal has been paid. Exhibit A, 111.

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10. Pursuant to paragraph 4 of the Agreement, in the event that Plaintiffs do not receive
payment when due, or in the event that Freedom fails to remain current regarding continuing benefit

contributions, the balance of the principal then owing, together with outstanding interest and

~~~¢out¢standing~benefit¢eontributions;~shall~be~paid¢by~Freedom¢and/or~~©wner¢afteréedaysl~#wr~itten~~~ -~…ii#_

notice by Plaintiffs.

11. Pursuant to paragraph 6 of the Agreement, in the event that any payment identified
above is not received when due, Defendants have agreed to have judgment entered against them,
jointly and severally, in favor of the holder of this Note for such sum as is then owed with costs of
suit and reasonable attorneys’ fees added. Exhibit A, 1[6.

12. Defendants have defaulted on the Agreement, resulting in a delinquency in its
payments for the total amount of $174,572.42. Notice of default has been provided to the
Defendants’ last known address via Certified/Return Receipt Requested and First Class Regular Mail
as contemplated by the Agreement, paragraph 4. Exhibit B.

13. Defendants have agreed to waive any stay of execution on the Judgment confessed.
Exhibit A, 116.

14. T he transaction upon which Plaintiffs seek judgment did not arise from a retail
installment sale, contract, or account and was a business transaction.

l5. The Defendants are neither incompetent nor infants, nor are the Defendants in
military service.

16. This Court is authorized to enter judgment in these circumstances D.H. Overmyer
Co. of Ohio v. Frick C0., 405 U.S. 174 (1972); USA v. Stuart, 392 F2d 60 (3d Cir. 1968); See

Local Rule 56.1- “Judgments Pursuant to Warrant of Attorney”.

[Remainder of page intentionally left blank]

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WHEREF()RE, Plaintiffs request this Court to grant judgment in the form submitted

herewith against the Defendants and in favor of the Plaintiffs in the amount of $174,572.42, plus

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balance has been paid, and to grant such additional relief as is just.

Dated: December 19, 2017

    
    

 
 

BY:

    

SYR - """ JASMINE MA'
230 South Broad Street, Suite 1400
Philadelphia, PA 19102

(215) 732-0101

SJM6389

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT ()F PENNSYLVANIA

SHEET METAL WORKERS' LOCAL 19 : CIVIL ACTION
1301 South Columbus Boulevard :
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: NO.
and

SHEET METAL WORKERS' HEALTH &
WELFARE FUND OF LOCAL NO. 19
1301 South Columbus Boulevard
Philadelphia, PA 19147

and

SHEET METAL WORKERS' ANNUITY FUND
OF LOCAL NO. 19

1301 South Columbus Boulevard

Philadelphia, PA 19147

and

SHEET METAL WORKERS' WORK ASSESSMENT;
OF LOCAL NO. 19

1301 South Columbus Boulevard

Philadelphia, PA 19147

and

SHEET METAL WORKERS' JOINT
APPRENTICESHIP FUND ()F PHILADELPHIA
AND VICINITY

1301 South Columbus Boulevard

Philadelphia, PA 19147

and

GARY MASINO, TRUSTEE

SHEET METAL WORKERS' LOCAL 19
BENEFIT FUNDS

1301 South Columbus Boulevard
Philadelphia, PA 19147,

Plaintiffs,

Case 2:17-cV-05698-ER Document 1 Filed 12/19/17 Page 7 of 36

FREEDOM HEATING & AIR CONDITIONING
a/k/a FREEDOM MECHANICAL

3127 Broad Street

Ottsville, PA 18942

and
MICHAEL McSTRAVICK
3127 Broad Street
Ottsville, PA 18942
Defendants.
JUDGMENT UPON CONFESSION

Defendants, having stipulated to the entry of judgment in this action, and upon application
and certification of Plaintiffs, judgment is hereby entered against Defendants, Freedom Heating &
Air Conditioning a/k/a Freedom Mechanical and Michael McStravick, and in favor of Plaintiffs in
the amount of $174,572.42, with interest to run thereon at the rate of 4.25 % until this judgment has
been satisfied.

Plaintiffs are entitled to execute on this judgment, without notice, as Defendants stipulated
thereto.

Should Plaintiffs be required to execute on this judgment, this judgment may be immediately
registered in any Court of competent jurisdiction regardless of whether the time for appeal has
expired.

Further, should Plaintiffs be required to execute on this judgment, the amount of this

judgment shall be increased by a reasonable fee for each execution proceeding necessary to achieve

satisfaction of this judgment in favor of the Plaintiffs and against the Defendants.

 

U.S.D.J.

Dated :

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SHEET METAL WORKERS' LOCAL 19 : CIVIL ACTION
1301 South Columbus Boulevard :
Philadelphia, PA 19147
N().
and

SHEET METAL WORKERS' HEALTH &
WELFARE FUND OF LOCAL NO. 19
1301 South Columbus Boulevard
Philadelphia, PA 19147

and

SHEET METAL WORKERS' ANNUITY FUND
OF LOCAL NO. 19

1301 South Columbus Boulevard

Philadelphia, PA 19147

and

SHEET METAL WORKERS' WORK ASSESSMENT:
()F LOCAL NO. 19 ' :
1301 South Columbus Boulevard

Philadelphia, PA 19147

and

SHEET METAL WORKERS' JOINT
APPRENTICESHIP FUND OF PHILADELPHIA
AND VICINITY

1301 South Columbus Boulevard

Philadelphia, PA 19147

and

GARY MASINO, TRUSTEE

SHEET METAL WORKERS' LOCAL 19
BENEFIT FUNDS

1301 South Columbus Boulevard
Philadelphia, PA 19147,

Plaintiffs,

Case 2:17-cV-05698-ER Document 1 Filed 12/19/17 Page 9 of 36

FREEDOM HEATING & AIR C()NDITIONING
a/k/a FREEDOM MECHANICAL
3127 Broad Street
Ottsville, PA 18942
and
MICHAEL McSTRAVICK

3127 Broad Street
Ottsville, PA 18942

Defendants.

ENTRY OF APPEARANCE AND
APPLICATION FOR ENTRY OF JUDGMENT BY CONFESSION

Kindly enter my appearance for Defendants in the above action.

AND NOW, on December 19, 2017, Plaintiffs aver that they are the holders of a Judgment

Note in their favor duly executed by the Defendants (a true and correct copy of which is attached as

Exhibit A to the Complaint in Confession). Kindly enter judgment in the form submitted herewith

in favor of the Plaintiffs and against the Defendants in the amount of $174,572.42, plus interest to

run thereon at the rate of 4.25 %, attorneys’ fees and costs, as evidenced by the attached certification

filed herewith.

sPEAR

BY:

Dated: December 19, 2017

  

 

SYRET:B”J'ASMINE MARTIN
230 South Broad Street, Suite 1400
Philadelphia, PA 19102

(215) 732-0101

SJM6389

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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

SHEET METAL WORKERS' LOCAL 19 : CIVIL ACTION
1301 South Columbus Boulevard :
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' NO.
and

SHEET METAL WORKERS' HEALTH &
WELFARE FUND ()F LOCAL NO. 19
1301 South Columbus Boulevard
Philadelphia, PA 19147 ~

and

SHEET METAL WORKERS' ANNUITY FUND
OF LOCAL NO. 19

1301 South Columbus Boulevard

Philadelphia, PA 19147

and

SHEET METAL WORKERS' WORK ASSESSMENT:
OF LOCAL NO. 19 :
1301 South Columbus Boulevard

Philadelphia, PA 19147

and

SHEET METAL WORKERS' JOINT
APPRENTICESHIP FUND OF PHILADELPHIA
AND VICINITY

1301 South Columbus Boulevard

Philadelphia, PA 19147

and

GARY MASINO, TRUSTEE

SHEET METAL WORKERS' LOCAL 19
BENEFIT FUNDS

1301 South Columbus Boulevard
Philadelphia, PA 19147,

Plaintiffs,

Case 2:17-cV-05698-ER Document 1 Filed 12/19/17 Page 11 of 36

V.

FREEDOM HEATING & AIR CONDITIONING : g
a/k/a FREED()M MECHANICAL :

3127 Broad Street

Ottsville, PA 18942

 

and
MICHAEL McSTRAVICK
3127 Broad Street
Ottsville, PA 18942
Defendants.
CERTIFICATION IN SUPPORT OF
REOUEST FOR ENTRY OF JUDGMENT BY CONFESSION
I, Syretta Jasmine Martin, say as follows:

1. I am counsel to Plaintiffs in the matter. The transaction upon which the judgment

being entered is based did not arise from a retail installment sale, contract or account.

2. The transaction upon which the judgment being entered is based was a business
transaction.
3. There remains due and owing to the Plaintiffs in connection with this transaction the

sum of $174,572.42, consisting of unpaid balance in the principal amount of $l52,065.54 and interest

in the amount of $22,506.88 through the present

4. Defendants have defaulted on the Agreement and have received Notice as required
under Paragraph 4 of the Judgment Note (see Exhibit B attached to the Complaint in Confession).

5. Pursuant to paragraph 1 of the Judgment Note, Plaintiffs are entitled to interest to run
at 4.25 % on the principal balance until paid,

6. Pursuant to 29 U.S.C. Section 1132(g) (2), Plaintiffs are entitled to recover
reasonable counsel fees and costs in this action.

7. The Defendants are not infants or incompetent persons and are not in the military
service.

8. The facts set forth in the within pleadings are true and correct to the best of my

knowledge, information and belief upon reasonable investigation, and Exhibit A filed herewith is a

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true and correct copy of a Judgment Note and Confession of Judgment, the original of which is in
the Funds’ possession.

9. I verify under penalty of perjury that the foregoing is true and correct. Executed on

 

December 19, 2017.

SPEAR WILDE jl\,f}[a’-\"N, P.C.

¢» "
aj
¢

if
SWETTA JASMINE MARTIN
230 South BrOad Str€€t, Suite 1400
Philadelphia, PA 19102
(215) 732-0101
Dated! D€C€mb€l‘ 19, 2017 SJM6389

 

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EXHIBIT A

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JUDGMENT NOTE

 

WHEREAS, Freedom Heating & Air Conditioning (the "Employer"), is obligated to make
periodic payments to the Sheet l\/letal Workers' Health & Welfare Fund of Local No. 19, Sheet Metal
Workers' Pension Fund of Local No. 19, Sheet l\/letal Workers' Annuity Fund of Local No. 19, Sheet
Metal Workers' Vacation Fund of Local No. 19, Sheet Metal Workers' S.U.B. Fund of Local No. 19,
Sheet l\/letal Workers' lnternational 'l`raining lnstitute (ITI), and Sheet Metal Workers' Joint
Apprenticeship Fund of Philadelphia and Vicinity (the "Funds") pursuant to its collective bargaining
agreement with Sheet Metal Workers' Local 19 (the "Union"); and,

WHEREAS, said Einployer is delinquent in said obligations,

WHEREAS, said Employer asserts that the full repayment in one lump snm, of said
obligations Would Work an undue hardship upon its business and threaten its continued existence; and,

WHEREAS, the Funds seek to collect, in full, the obligations owed in accordance with federal
law; and

WHEREAS, Michael McStravick, principal of Employer, (“Owner”) agrees to guarantee
payment of the Employer’s obligation to the Fund;

NOW, THEREFORE, intending to be legally bound the Employer and Owner hereby agrees
as follows:

l. Employer shall pay to the Funds through the Sheet Metal Workers‘ Local 19 Benefit Funds
Office located at l30l S. Columbus Blvd., Philadelphia, PA 19147, the aggregate sum of $153,939.52,
together with interest at the rate of 4.25% per year as set forth in the Payment Agreement Schedule
attached hereto as Exhibit "A".

2. Employer shall make an initial payment of $0.00 by certified check, upon the execution of

this Note on or about October 27, 20l7. Employer shall thereafter make 355 weekly payments,

 

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beginning on November 3, 2017 and continuing weekly thereafter until all of the payments identified

 

m hxhibit "A" have been paid.

3. Each payment shall be made by check or money order payable to Sheet Metal Workers'
Local 19 Benefit Funds. ln addition, Owner hereby guarantees payment of the amounts called for
hereunder

4. In the event that any payment is not received when due, or should Employer not remain
current with future fringe benefit contributions or any other payment that becomes due and owing the
Funds during the course of this Agreement, the balance of the principal then owing, together with
outstanding interest and/or any outstanding fringe benefit contributions, together with interest shall,
after five (5) days written notice to the Employer, then become due and payable at the option of the
Funds, and the Employer and Owner shall, individually and/or jointly and severally, pay said balance
without further notice, presentment, demand, notice of dishonor or protest of any kind, all of which are
waived by the Employer and the Owner.

5. The failure of the Funds to exercise their option to accelerate the balance due in the event of
a late payment shall not be construed as a waiver of said right as to any subsequent failure of the
Employer to pay when due its monthly payments

6. ln the event that any payment identified above is not received when due the Employer and
the GWner do hereby authorize and empower any attorney of any Court of Record of Pennsylvania or
elsewhere to appear for and to enter judgment against the Employer and Against the Owner in favor of
the holder of this Note for the above sum (or such sum as is then owed) with costs of suit, release of
errors, without stay of execution, and with reasonable attorney's fee added, and each hereby waives and
releases all benefits and relief from any and all appraisement, stay or exemption laws of any state now
in force or hereafter to be passed.

7. Employer/Owner shall have the right to prepay all or any part of the principal amount of this

Note at any time or from time to time by paying such principal amount, together with interest accrued

 

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thereon to the date of payment without the payment of any premium or other penalty.

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Exemption 76-1, 4l F.R. 12740.
IN WITNESS WHEREOF, and intending to be legally bound hereby, the Employer and the
Owner have caused this .ludgmcnt Note to be executed by the Employer’s proper officers, partners,
agents or employees, as the case may be, who, the Employer acknowledges, are duly authorized to
execute this Judgment Note, and by the Owner. '

ON BEHALF OF THE EMPLOYER

Freedom Heating & Air Conditioning
By: "WL f/W’Vf“::; n \@Q
Michael Md§trayicl<, Owner

ON BEHALF OF THE OWNER

BY: 7/7\ W`?:Mi€a`?"`

Michael Mc$tra/\fick, Owner

j t
(,,,
Attest: (L\QM '£r"""» Daf€df /0 707 7" / 7

(Witness)

Gary J. no, Co~Chairman
F or Sheet Metal Workers’ Local
Union No. 19 and Its Benefit Funds

 

 

Dated: /J%p’/:,//`?5

 

Ernest J. Menold, Co~Chairman
For Sheet l\/letal Workers’ Local
Union No. 19 and lts Benefit Funds

Dated:

 

 

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Pay"ment Agreement Schedule

EXhibit "A"' ` \

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

533 Sheet Metal Workers' Local No. 19 Funds | © 2098 vertex/12 Ll_c
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Prepared For:
Total Payments $ 177,398.92 Michael McStravle
Tota\ lnterest $ 23,459.40 Prepared By'
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22 3/30/18 500.00 500.00 119.34 380.66 145,636.42
23 4/6/18 500.00 500.00 119.03 380.97 145,255.45
24 4/13/18 500.00 500.00 118.72 381.28 144,874.17
25 4/20/18 500.00 500.00 118.41 381.59 144,492.587
26 4/27/18 500.00 500.00 118.09 381.91 144,110.67
27 5/4/18 500.00 500,00 _ 117.73 382.22 143,728.45
23 5/11/18 500_00 500.00 117.47 382.53 143,345.92
29 5/18/18 500.00 500.00 117.16 332.34 142,963.08
4 30 5/25/18 500.00 500.00 116.84 383.16 142,579.92
31 6/1/18 500.00 500_00 116.63 383.47 142,196.45
32 6/8/18 500.00 500.00 116.22 383.78 141,812.67
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40 5/3/15 500.00 113.70 355.30 138,731.10
41 5/10/15 500,00 113.39 355.51 135,344.49
42 5/17/15 500.00 113.07 355.93 137,957.55
43 5/24/15 500.00 112.75 337,25 137,570.31
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43 9/25/15 500.00 111.17 355.83 135,529.33
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50 10/12/15 500.00 110.53 359.47 134,550.71
51 10/19/15 500.00 110.21 359.79 134,450.92
52 10/25/15 500.00 109.90 390.10 134,070.82
53 11/2/15 500.00 109.55 390.42 133,580.40
54 11/9/18 500.00 109.25 390.74 133,259.55
55 11/15/15 500.00 105.94 391 .05 132,995.50
55 11/23/15 500.00 105.52 391.35 132,507.22
57 11/30/15 500.00 109.30 391.70 132,115.52
55 12/7/15 " 500.00 107.98 392.02 131 ,723.50
59 12/14/15 500.00 107.55 392.34 131,331.15
50 12/21/15 500.00 107.34 392.55 130,935.50
_‘5‘1'_~ 12/25/15 500.00 ‘\._107.02` 392.)95 l _, 130,545.52
" 52 1/4/19 500.00 105,70 393.30 130,152.22
_ 53 1/11/19 500.00 105.37 393.53 129,755.59
54 1/15/19 500.00 10505 393.95 129,354.54
55 1/25/19 500.00 105.73 394.27 125,970.37
55 2/1/19 500.00 105.41 394.59 129,575.75
57 2/3/19 500.00 105.09 394.91 125,150.57
55 2/15/19 500.00 104.75 395.24 127,755.5§
59 2/22/19 500.00 104.44 395.55 127,390.07
70 3/1/19 500.00 104.12 395.58 125,994.19
71 3/5/19 500.00 103179 395.21 125,597,95
72 3/15/19 500.00 103.47 395.53 125,201.45
75 3/22/19 500.00 103.15 395.55 125,504.50
74 3/29/19 500.00 102.52 397.15 125,407.42
75 4/5/19 500.00 102.50 397.50 125,009.92
75 4/12/19 500.00 102.17 39753 124,512.09
77 4/19/19 500.00 101.55 395.15 124,213.94
78 4/25/19 500.00 101.52 395,45 123,515.45
79 5/3/19 500.00 101.20 395.50 123,415.55
50 5/10/19 500.00 100.57 399.13 123,017.53
51 5/17/19 500.00 100.54 399.45 122,519.07
52 5/24/19 500.00 100.22 399.75 122,215.29
53 5/31/19 500.00 99.59 400.11 121,515.15
54 5/7/19 500.00 99.55 400.44 121 ,417.74
35 5/14/19 500.00 99.24 400.75 121 ,015.9§.
55 5/21/19 500.00 95.91 401/09 120,515.59
57 5/25/19 500.00 95.58 401,42 120,214.47
95 7/5/19 500.00 95.25 401 .75 119,812.72

 

 

 

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59 7/12/19 500.09 500.00 97.92 402.05 119,410.54
90 7/19/19 500.00 500.00 97.50 402.40 119,005.24
91 7/25/19 500.00 500.00 97.27 7¢402.73 115,505.51
92 5/2/19 500.00 500.00 95.94 405.05 115,202.45
93 5/9/19 500.00 500.00 95,51 403.59 117,799.05
94 5/15/19 500.00 500.00 95.25 403.72 117,395,54
95 5/23/19 500.00 500,00 95.95 404.05 115,991.29
95 5/30/19 500.00 500.00 95.52 404.35 115,555.91
97 9/5/19 500.00 500.00 95.29 404.71 115,152.20
95 9/13/19 500.00 500.00 94.95 405.04 115,777.15
99 9/20/19 500.00 500.00 94.53 405.37 115,371.79
100 9/27/19 500.00 500.00 94.29 405.71 114,955.05
101 10/4/19 500.00 500.00 99.95 405.04 114,550.04
102 10/11/19 500.00 500.00 93.53 405.57 114,153.57
103 10/15/19 500.00 500.00 95.30 405.70 113,745.97
104 10/25/19 500.00 500.00 92.97 407.03 113,539.94
105 11/1/19 500.00 500.00 92.53 407.37 112,932.57
105 11/5/19 500.00 500.00 92.30 407.70 112,524.57
107 11/15/19 500.00 50000 91.97 405.03 112.115.54
105 11/22/19 500.00 500.00 91 .53 405.57 111,705.47
109 11/29/19 500.00 500.00 91.30 405.70 111,299.77
110 12/5/19 500.09 500.00 90.97 409.03 110,590.74
111 12/13/19 500.00 500.00 90.53 409.37 110,451.57
112 12/20/19 500.00 50000 90.30 409.70 110,071.57
113 12/2111220000 ,, ._,.,\.§,OO-OO , ,9.99-96 410-04 109-661-63
114 1/3/20 500.00 500.00 59.53 410.37 109,251.25
115 1/10/20 500.00 500.00 59.29 410.71 109,540.55
115 1/17/20 500.00 500.00 55.95 411.04 105,429.51
117 1/24/20 500.00 500.00 55,52 411.95 105,015.15
115 1131/20 500.00 500.00 55.25 411.72 107,505.41
119 2/7/20 500.00 500.00 57.95 412.05 107,194.35
120 2/14/20 500.00 500.00 _ 57.51 412.39 105,751.97
121 2/21/20 500.00 500.00 57.27 412.73 105,559.24
122 2/25/20 500.00 500.00 55.94 413.05 105,955.15
123 3/5/20 500.00 500.00 55.50 415_40 105,542.75
124 3/13/20 500.00 500.00 55.25 413.74 105,129.04
125 3/20/20 500.00 500.00 55.92 414.05 104,714.95
125 5/27/20 500.00 500.00 55.55 414.42 104,500.54
127 4/5/20 500.00 500.00 55.2'5 414.75 103,555.79
125 4/10/20 500.00 500.00 54.91 415.09 103,470.70
129 4/17/20 500.00 500.00 54.57 415.43 103,055.27
150 4/24/20 500.00 500.00 54.23 415.77 102,539.50
131 5/1/20 500.00 500.00 53.59 415.11 102,223.39
152 5/5/20 500.00 500,00 53.55 415.45 101 ,505.94
133 5/15/20 500.00 500.00 53.21 415.79 101,590.15
134 5/22/20 500.00 500.00 52.97 417.13 100,973.02
135 5/29/20 500.00 500.00 52.53 417.47 100,555.55
135 5/5/20 500.00 500.00 52.15 417.52 100,137.73
137 5/12/20 500.00 500.00 51 .54 415.15 99,719.57
155 5/19/20 500.00 500.00 51.50 415.50 99,301.07
139 5/25/20 500.00 500.00 51.15 415.54 95,552.25
140 7/3/20 500.00 500.00 50.52 419.15 95,455.05
141 7/10/20 500.00 500.00 50.47 419.55 99,043.52
142 7/17/20 500.00 500.00 50.13 419.57 97,525.55
145 7/24/20 500.00 500.00 79.79 420.21 97,205.44

 

 

 

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144 7/31/20 500.00 500.00 79.45 420.55 95‘752.59
145 5/7/20 500.00 500.00 79.10 420.90 95,351.99
145 5/14/20 500.00 500.00 75.75 421 .24 95,940.75
147 5/21/20 500.00 500.00 75_41 421,59 95,519.15
148 8/28/20 bUU.Uu buu.uu 76.07 421.93 95,097.23
149 9/4/20 500.00 500.00 77.72 422.25 94,574.95
150 9/11/20 500.00 500.00 77.35 422.52 94,252,33
151 9/15/20 500.00 500.00 7703 422.97 95,529.55
152 9/25/20 500.00 500.00 75.59 423.51 93,405.05
153 10/2/20 500.00 500.00 75.54 423.55 92,952.39
154 10/9/20 500.00 500.00 75.00 424.00 92,555.39
155 10/15/20 500.00 500.00 75.55 424.35 92,134._04
155 10/23/20 500.00 50000 75.30 424.70 91,709.34
157 10/30/20 500.00 500.00 74.95 425.05 91,254.29
155 11/5/20 500.00 500.00 74.51 425.39 90,555.90
159 11/13/20 500.00 500.00 74.25 425.74 90,433.15
150 11/20/20 500.00 500.00 75.91 425.09 90,007.07
151 11/27/20 500.00 500.00 73.55 425.44 59,550.53
152 12/4/20 500.00 500.00 73.21 425.79 59,153.54
153 12/11/20 500.00 500.00 72.57 427.13 55,725.71
154 12/15/20 500.00 500.00 wu 72.52 427.45 55,299.23
166 _1?.(,2.5!?,.956666 2-506602 _ 7217‘12763 ?.,'§Zl.-fi,(?
155 w ' "1'/1/21 500.00 500.00 71 ,52 425.15 7,445.22
157 1/5/21 500.00 500.00 71 .47 425.53 57,014.59
155 1/15/21 500.00 500.00 71.12 425.55 55,555.51
159 1/22/21 500.00 500.00 70.77 429.23 55,155.55
170 1/29/21 500.00 500.00 70.42 429.55 55,727.00
171 2/5/21 500.00 500.00 70.07 ,,1429.93 55,297_07
172 2/12/21 500.00 500.00 59.71 430.29 54,555.75
173 2/19/21 500.00 500.00 59.35 430.54 54,435.14
174 2/25/21 500,00 500.00 59.01 430.99 54,005.15
175 3/5/21 500.00 500.00 55.55 431.34 53.573.51
175 3/12/21 _747500.00 500.00 55.31 431 .59 53,142.12
177 3/19/21 500.00 500.00 57.95 432.05 52,710.07
175 3/25/21 500.00 500.00 57.50 452.40 52,277.57
179 4/2/21 500.00 500.00 57.25 432.75 51,544.92
150 4/9/21 500.00 500.00 55.59 433.11 51,411.51
151 4/15/21 500.00 500.00 55.54 433145 50,975.35
152 4/23/21 500.00 500.00 55.15 433.52 50,544.53
155 4/30/21 500.00 500.00 w 55.53 434.17 50,110.35
194 5/7/21 500,00 500.00 55.47 434.53 79,575.53
155 5/14/21 500.00 500.00 55.12 454.55 79,240.95
155 5/21/21 500.00 500.00 54.75 435.24 75,505.71
157 5/25/21 500.00 500.00 54.41 455,59 75,370.12
155 5/4/21 500.00 500.00 54.05 435.95 77,934.17
159 ¢_ 5/11/21 500.00 500.00 53.70 435.30 77,497.57
190 5/15/21 500.00 500.00 53.34 455.55 77,051.21
191 5/25/21 500.00 500.00 52.95 437.02 75,524.19
192 7/2/21 509,09v 500.00 52.53 437.37 75,155.52
193 7/9/21 500.00 500,00 _ 52.27 437.73 75,749.09
194 7/15/21 500.¢00¢ 500.00 51 .91 435.09 75,311.00
195 7/25/21 500.00 500.00 51 .55 435.45 74,572.55
195 7/50/21 500.00 500.00 51.19 435.51 74,433`74
197 5/5/21 500.00 500.00 50.54 439.15 73,994.55
195 5/13/21 500.00 500.00 50.45 439.52 73,555_05

 

 

 

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199 5/20/21 500.00 500.00j 50.12 439.55 73,115.15_
200 5/27/21 500.00 500.00 , 59.75 440.24 72,574.94
201 9/3/21 500.00 500.00 59.40 440.50 72,234.'§
202 9/10/21 ' 500;00_ 500.00 59.04 440.95 71,793.35
203 9/17/21 500.00 500.00 5B.bB 441.52 /1,.5:)2.1)0
204 9/24/21 500.00 500.00 55.32 441.55 70,910.35
205 10/1/21 j 500.00 500.00 57.95 442.04 70,455.34
205 10/5/21 500.00 500.00 57.59 442.41 70,025.93
207 10/15/21 500.00 500.00 57.23 442.77 59,553.15
205 10/22/21 500.00 500.00 55.57 443.13 59,140.03
209 10/29/21 500.00 500.00 55.51 443.49 55,595,54
210 11/5/21 500.00 500.00 55.15 443.55 55,252.59
211 11/12/21 500.00 500.00 55.75 444.22 57,505.47
212 11/19/21 500.00 500.00 j 55.42 444.55 57,353.59
213 11/25/21 500.00 500,00 55.05 444.94 55,915.95
214 12/3/21 500.00 500.00 54559 445.31 55,473.54
215 12/10/21 500.00 500.00 54.33 445.57 55,027.97
215 12/17/21 500.00 500.00 53.97 445.03 55,551.94_
217 12/24/21 500.00 500.00 53.50 445.40 55,135.54
._.5216. 1§{§1!2_15...,,…,5 599;9.65,._ 1599;99 53‘2455 5,.,4456:576, .
219 ' ¢'1/7/22 '500.00… 500.00 "52.57 ' 447.13 54,241.55
220 1/14/22 500.00 500.00 52.51 447.49 53,794.15
221 1/21/22 500.00 500.00 52.14 447.55 53,345.30
222 1/25/22 500.00 500.00 51.77 445.23 52,595.07
223 2/4/22 500.00 500.00 51.41 445.59 52,449.45
224 2/11/22 500.00 500.00 51 .04 445.95 52,00052
225 2/15/22 500.00 500.00 50.57 449.33 51,551.19
225 2/25/22 500.00 500.00 50.31 449.59 51,101.50
227 3/4/22 500.00 500.00 49.94 450.05 50,551.44
225 3/11/22 500.00 500.00 49.57 450.43 50,201.01
229 3/15/22 500.00 500.00 49.20 450.50 59,750.21
230 3/25/22 500.00 500.00 45.53 451.17 59,299.04
231 4/1/22 500.00 500.00 45.47 451.53 55,547.51
232 4/5/22 500.00 500.00*” 45.10 451.90 55,395.51
233 4/15/22 500.00 500.00 47.73 452.27 57,943.34
234 4/22/22 500.00 500.00 47.35 452.54 57,490.70
235 4/29/22 500.00 500.00 45.99 453.01 57\037.59
235 5/5/22 500.00 500.00 45.52 453.35 55,554.31
237 5/13/22 500.00 500,00 45.25 453.75 55,130.55
235 5/20/22 500.00 500.00 45.55 454.12 55,575.44
239 5/27/22 500.00 500.00 45.50 454.50 55,221_94
240 5/3/22 500.00 500.00 45.13 454.57 54,757.07
241 5/10/22 750ng 500.00 44.75 455.24 54,311.53
242 5/17/22 500.00 500.00 44.39 455.51 53,555.22
243 5/24/22 500.00 500.00 44.02 455.95 53,401§4_
244 7/1/22 500.00 500.00 43.54 455.35 52,943.55
245 7/5/22 500.00 500.00 43.27 455.73 52,457.15
245 7/15/22 500100 500.00 42.90 457.10 52,030.05
247 7/22/22 500.00 500,00 42.52 457.45 51 ,572.57
245 7/29/22 500.00 500.00 42.15 457.55 51 ,1 14.72
249 5/5/22 500.00 500.00 41 .75 455.22 50,555.50
250 5/12/22 500.00 500.00 41 .40 455.50 50,197.90
251 5/19/22 500.00 500.00 41.03 455.97 49,735.93
252 5/25/22 500.00 500.00 40.55 459.35 49,279.55
253 9/2/22 500.00 500.00 40.25 459.72 45,519.55

 

 

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254 9/9/22 500.00 500.00 39590 450.10 45,359.75
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255 9/23/22 500.00 50000 39.15 450.55 47,435.43
257 9/30/22 500.00 500.00 35.77 451 .23 45,977.20
255 10/7/22 500.00 500.00 n 35.39 451 .51 45,515.59
259 10/14/22 500500 500.00 3502 451.95 45,053.51
250 10/21/22 500.00 500.00 37.54 452.35 45,591.25
251 10/25/22 500.00 500.00 37.25 452.74 45,125.51
252 11/4/22 500.00 500.00 35.55 453.12 44,555.39
253 11/11/22 500.00 500.00 35.51 453.49 44,201,90
254 11/15/22 500.00 500.00 m'_ _____ 35.13 453.57 43,735.03,
255 11/25/22 500.00 500.00 35.75 454.25 43,273.75
255 12/2/22 500.00 500.00 35.37 454.53 42,509.15
257 12/9/22 500.00 500.00 34.99 455.01 42,344.14
255 12/15/22 500.00 500.00 34.51 455.39 41 ,575.75
259 12/23/22 500.00 500.00 34,23 455.77 41,412.95
.?76.. _,,_.12/30/22 599,,:9655.5… 56669 .. ,.§_5.:§545615_._..._49_1§?4.5;§5
271 1/5/23 5_0”0..01,)M 500.00 33.47 455.53 40,450.30
272 1/13/23 500.00 500.00 33.05 455.92 40,013.35
273 1/20/23 500.00 500.00 32.70 457.30 39,545.05
274 1/27/23 500.00 500.00 32.32 v 457.55 39,075.40
275 2/3/23 500.00 500.00 31.94 455.05 35,510.34
275 2110/23 500.00 500.00 31.55 455.44 35,141.90
277 2/17/23 500.00 500.00 31.17 455.53 37,573.07
275 2/24/23 500.00 500.00 30.79 459.21 37,203.55
279 3/3/23 500.00 500.00 30.41 459.59 35,734.27
250 3/10/23 500.00 500.00 30.02 459.95 35,254.29
251 3/17/23 500.00 500.00 29.54 470.35 35,793.93
252 3/24/23 500500 500.00 29.25 470.75 35,323.15_
253 3/31/23 500.00 500.00 25.57 471 .13 34,55205
254 4/7/23 500.00 500.00 25.45 471.52 34,350.53
255 4/14/23 500.00 500.00 25.10 471.90 33,905.53
255 4/21/23 500.00 500.00 rrrrr 27.71 472.29 33,435.34
257 4/25/23 500.00 500.00 27.33 472.57 32,953.57
255 5/5/23 500.00 500.00 25.94 473.05 32,490.51
259 5/12/23 500.00 500.00 25.55 473.45 32,017.15
290 5/19/23 500.00 500.00 25.17 473.53 31 ,543.33
291 5/25/23 500.00 500.00 25.75 474.22 31 ,059.11
292 5/2/23 500.00 500.00 25.39 474.51 30,594.50
293 5/9/23 500.00 500.00 2501 474.99 30,119.51
294 5/15/23 500,00 500.00 24.52 475.35 29,544.13
295 5/23/23 500.00 500.00j 24.23 475.77 29,155.35
295 5/30/23 500.00 500.00 23.54 475.15 25,592.20
297 7/7/23 500.00 500.00 23.45 475.55 25,215.55
295 7/14/23 500.00 500.00 2305 475.94 27,735.71
299 7/21/23 500.00 500.00 22.57 477.33 27,251.35
300 7/25/23 50000 500.00 22.25 477.72 25,753.55
301 5/4/23 500.00 500.00 21 .59 475.11 25,305.55
302 5/11/23 50000 500.00 21 .50 473.50 25,527.05
303 __,,,5/15/23 500.00 500.00 21 .11 475.59 25,345.15
304 5/25/23 500.00 500.00 20.72 479.25 24,555.55
305 9/1/23 500.00 500.00 20.33 479,57 24,359.21
305 9/5/23 500.00 500.00 19.93 450.07 23,909.14
307 9/15/23 500.00 500.00 1954 450.45 23,425.55
305 9/22/23 500.00 500.00 19.15 450.55 22,947.53

 

 

 

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309 9/29/23 500.00 500.00 15.75 451.24 22,455.59
310 10/5/23 500.00 500.00 1535 451.54 21,954.95
311 10/13/23 500.00 500.00 17.97 452.03 21 ,502.92
312 10/20/23 500.00 500.00 17.57 452.43 21 ,020.49
313 10/27/23 500.00 500.00 17.15 452.52 20,537.57
314 11/3/23 500.00 500.00 15.79 453.21 20,054.45
315 11/10/23 500.00 500.00 15.39 453.51 19,570.55
315 11/17/23 500.00 500.00 _ 1500 454.00 19,055.55
317 11/24/23 500.00 500.00 1550 454.40 15,502.45
315 12/1/23 500.00 500.00 15.20 454.50 15,117.55
319 12/5/23 500.00 500.00 14.51 455.19 17,532.45
320 12/15/23 500.00 500.00 14.41 455459 17,145.57
321 12/22/23 500.00 500.00 1401 4_55.99 15,551§3_5
322 _ 12/23/2333300 _30333 1332 43333 .5 1617150
323 w 1/5/24 500100 500.00 13.22 455.75 15,557.72
324 1/12/24 500.00 500.00 1252 457.15 7 15,200.54
325 1/19/24 500.00 500.00 12.42 457.55 14,712195
325 1/25/24 500.00 500.00 _r 1203 457.97 14,224.99
327 2/2/24 500.00 500.00 11.53 455.37 13,735.52
325 2/9/24 500.00 500.00 11.23 455.77 13,247.55
329 2/15/24 500.00 500.00 1053 459.17 12,755.55
330 2/23/24 500.00 500.00 10.43 459.57 12,259.11
331 3/1/24 500.00 500.00 10.03 459.97 11,779.14
332 3/5/24 500.00 500.00 9.53 490.37 11,255.77
333 3/15/24 500.00 500.00 9.23 490.77 10,795.00
334 3/22/24 500.00 500.00 5.53 491.17 10,305.53
335 3/29/24 500.00 500.00 5.42 491.55 9,515.25
335 4/5/24 500.00 500.00 502 491.95 9,323.27
337 4/12/24 500.00 500.00 752 492.35 5,530.59
335 4/19/24 500.00 500.00 7.22 492.75 5,335.11
339 4/25/24 500.00 500.00 5.51 493.19 7,544.92
340 5/3/24 500.00 500.00 5.41 493.59 7,351§
341 5/10/24 500.00 500.00 5.01 493.99 5,557.34
342 5/17/24 500.00 500.00 5.50 494.40 5,352.94
343 5/24/24 500.00 500.00 5.20 494.50 5,555.14
344 5/31/24 500.00 500.00 4.50 495.20 ¢"5,3729_4
345 5/7/24 500.00 500.00 4.39 495.51 4,577.33
345 5/14/24 500.00 500.00 399 495.01 4,351.32
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351 7 7/19/24 500.00 500.00 1.95 495.04 1,595.17
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EXHIBIT B

Case 2:17-cV-05693-ER Document 1 Filed 12/19/17 Page 25 of 36

LAW OFFlCES

SPEAR WILDERMAN

A Prqfessional Corpora!ion

TEL: (215) 732-0101

230 SOUTH BROAD STREET, SUITE 1400, PHILADELPHIA, PA 19102

FAX: (215) 732-7790

 

\VARREN J. BOR!SH*
SAMUEL L. SPEAR

JAMES F. RUNCKEL
CI~lARLES T. JO\’CE"
BENJAM|N EISNER<>

\VENDY CIIlERlCl*

JAMES KA'I`Z“

MARTIN W. MILZ’

LOlS GARBER SCHWARTZ"
WlLLl/\M B. SAN`DERSON, JR *
NICHOLAS J. BO'I`TA
SYRETTA J, MAR'!`IN'
MELISSA A. LOVETT

F. TIGHE BURNS*

'l`HEODORE P, DiMUZlO
CHRISTOPHER R. STOCKTGN*

PA BAR EXCEPT:
" PA & NJ BAR
OPA, NJ & DC BAR

November 27, 2017

NJ Ol"FlCE:

1040 N. KlNGS HIGHWAY

SUITE 202

CHERRY HIL[., NJ 08034

(856) 482-8799 FAX; (856) 482-0343

BRUCE 5 ENnv
RErmED, 2017

LEONARD SPEAR
1923 ~ 2003

LOUIS H. WlLDERMAN
1909 - 1993

Via Certified/RRR & First Class Regular Mail

Mr. Michael McStravick

Freedorn Heating and Air Conditioning
a/l</a Freedom Mechanical

3127 Broad Street

Ottsville, PA 18942

Re: Sheet Metal Workers' Local 19 Benefit Funds ("Funds")
Pavments Due and 0wing - Notice of Default

Dear l\/Ir. McStraviek:

Please be advised that this office is counsel for Sheet Metal Workers' Local 19 and the
above~referenced Funds.

We have been advised that Freedom Heating & Air Conditioning a/l</a Freedom
Mechanical (hereafter, the Company) failed to timely remit contributions for work performed by
Local l9 employees for the contribution period of 11/6/17 to 11/19/17. As a result, the Funds
believe the delinquent principal amount owed by the Company to be for the amount of
$17,932.92.

In addition, pursuant to the Judgment Note (hereafter, the "Note") you entered into on
behalf of the Company on or before October 27, 2017, the Company was required to make weekly
payments in the amount of 3500.00 per week to the Funds. The Company has not adhered to the
terms of the Note. As a result of the Cornpany’s default, the Company now owes the aggregate
amount of $170,373.87, consisting of principal contributions in the amount of $17,932.92 and
Payment Agreement of $152,440.95. As you will recall, paragraph 4 of the Note provides;

In the event that any payment is not received when due, or should Employer not
remain current with future fringe benefit contributions or any other payment that
becomes due and owing the Funds during the course of this Agreement, the balance
of the principal then owing, together with outstanding interest and/or any
outstanding fringe benefit contributions, together with interest shall, after five (5)
days written notice to the Employer, then become due and payable at the option of

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the Funds, and the Einployer and Owner shall, individually and/or jointly and
sevei'ally, pay said balance without further notice, presentment, demand, notice of
dishonor or protest of any kind, all of which are waived by the employer and the
Owner.

 

Therefore, please accept this letter as the runds notice ot default required by paragraph 4
of the Note. If the current delinquency and Note balance are not paid in full in the total amount of
$]_'70,3’/'3.87 within five (5) days from the date of this letter, the Funds will take appropriate
action. Please also note that pursuant to paragraphs 4 and 6 of the Note, as the Company’s owner,
you, Mr. McStravick, have individually guaranteed payment of all amounts listed as owed in the
Note,

The Conipany’s failure to remit the reports and/or contributions when due constitutes a
violation of both the collective bargaining agreement and federal law. The Employee Retirement
Income Security Act of 1974 (ERISA) provides for civil remedies and damages in such a situation
Additionally, the Trustees of the Funds have a fiduciary obligation to pursue the recovery of the
delinquent amounts owed.

As a result, the Funds demand payment of amounts due and owing be paid to the Funds
within live (5) business days from the date of this letter or, pursuant to the Note, appropriate
action will be talcen. We urge you to take immediate action to correct these aii'earages by making
payment in the amount owed of $170,373.87 to the Funds.

If you have any questions, please contact me at (215) 732»0lOl. Thank you.

,»"’ "

Regards, f

,/"
SPEAR WILDW, P.C.

//
By. /

s§?ré"tta J. Martii§`;‘iz§qniie

 

Enclosure '

cc: Dennis Siravo, Assistant Administrator (via email)
Gary J . l\/Iasino, President (via email)

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JUDGMENT N()TE

WI~IEREAS, Fi‘eedom Heating & Air Conditioning (the "Einployer"), is obligated to make
periodic payments to the Sheet Metal Workers’ Health & Welfare Pund of Local No. 19, Sheet Metal
Workei's' Pension Fund of Local No. 19, Sheet Metal Workers' Annuity Fund of Local No. 19, Sheet
l\/Ietal Workers’ Vacation Fund of Local No. 19, Sheet Metal Workers' S.U.B. Fund of Local No. 19,
Sheet Metal Woi'kei's’ lnternational Ti‘aining lnstitute (lTI), and Sheet Metal Workers' Joint
Apprenticesliip Fund of Philadelphia and Vicinity (the "Funds") pursuant to its collective bargaining
agreement with Sheet Metal Workers' Local 19 (the "Union"); and,

WHEREAS, said Einployer is delinquent in said obligations,

WHEREAS, said Employer asserts that the full repayment in one lump sum, of said
obligations would work an undue hardship upon its business and threaten its continued existence; and,

WHEREAS, the Funds seek to collect, in full, the obligations owed in accordance with federal
law; and

WHEREAS, Michael McStravick, principal of Employer, (“Ownei"’) agrees to guarantee
payment of the Einployer’s obligation to the Fund;

NOW, TI-IEI{EFORE, intending to be legally bound the Employer and Owner hereby agrees
as follows:

1. Employer shall pay to the Punds through the Sheet Metal Workei‘s‘ Local 19 Benefit Funds
Office located at 1301 S. Colurnbus Blvd., Philadelphia, PA 19147, the aggregate sum of $153,939.52,
together with interest at the rate of 4.25% per year as set forth in the Payment Agreement Sehedule
attached hereto as Exhibit "A".

2. Employer shall make an initial payment of $0.00 by certified eheek, upon the execution of

this Note on or about October 27, 2017 . Einployer shall thereafter make 355 weekly payinents,

 

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beginning on November 3, 2017 and continuing weekly thereaiter until all of the payments identified
in Exhibit "A" have been paid.

3. Each payment shall be made by check or money order payable to Sheet Metal Workers'
Local 19 Benefit Funds. In addition, Owner hereby guarantees payment of the amounts called for
hereundei'.

4. Iii the event that any payment is not received when due, or should Employer not remain
current with future fringe benefit contributions or any other payment that becomes due and owing the
Funds during the course of this Agreement, the balance of the principal then owing, together with
outstanding interest and/or any outstanding fringe benefit contributions, together with interest shall,
after five (5) days written notice to the Employei‘, then become due and payable at the option of the
Funds, and the Employer and Owner shall, individually and/or jointly and sevei‘ally, pay said balance
without further notice, presentment, demand, notice of dishonor or protest of any kind, all of which are
waived by the Einployer and the Owner.

5. The failure of the Funds to exercise their option to accelerate the balance due in the event of
a late payment shall not be construed as a waiver of said right as to any subsequent failure of the
Employer to pay when due its monthly payments

6. ln the event that any payment identified above is not received when due the Employer and
the Owner do hereby authorize and empower any attorney of any Court of Recoi'd of Pennsylvania or
elsewhere to appear for and to enter judgment against the Employer and Against the Owner in favor of
the holder of this Note for the above sum (or such sum as is then owed) with costs of suit, release of
errors, without stay of execution, and with reasonable attorney’s fee added, and each hereby waives and
releases all benefits and relief from any and all appraisement, stay or exemption laws of any state now
in force or hereafter to be passed.

7. Employer/()wner shall have the right to prepay all or any part of the principal amount of this

Note at any time or from time to time by paying such principal ainount, together with interest accrued

 

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thereon to the date of payment without the payment of any premium or other penalty.

8. This agreement is intended to satisfy thc conditions set forth in Proliibited Transaction Class

Exemption 76-1, 41 F.R. 12740.

IN WITNESS WHEREOF, and intending to be legally bound hereby, the Employer and the
Ownei have caused this Judgment Note to be executed by the Einployei" s proper officer,s par',tneis
agents oi employees as the case may be who, the Eniployer acknowledges, are duly authorized to

execute this Judgment Note, and by the Owner.

_ f g »
Attest: Ql'z*"*/ L"“"v

(Witness)

 

ON BEHALF OF THE EMPLOYER

Fi'eedom Heating & Air Conditioning

By: Fi/… \freg`
Michael Md§Uic Ownei

ON BEHALF GF THE OWNER

BY.771 W; Gg`

Michael Mcd{ij,\fick Ownei

Dated: /0 ”éi 7‘* / 7

Gary .l, no, Co~Chairman

F or Sheet Metal Workers’ Local
Union No. 19 and Its Bencfit Funds

Dated: /§/p’z//:'?S

 

Ernest J. Menold, Co~Chairman
For Sheet l\/fetal Workers’ Local
Union No. 19 and lts Benefit Funds

Dated:

 

 

Case 2:17-cV-05693-ER Document 1 Filed 12/19/17 Page 30 of 36

 

'Pay-me_n`t :Ag re_e'me'nt- Se`hedu'le",»` f

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1 © 2005 vene><42 Ltc

 

 

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HELP _____ M Sheet Nletal Workers' Local No. 19 Funds
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#1351

Freedom Heating & Air
Conditioning

3127 Broad Street
Ottisvt|le, PA 18942
Office: (215) 795~2402

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Mike@freedomhvac,comcastbiz.net

 

 

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Origination Date;
10/27/2017

 

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Prepared For:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Total lnterest $ 23,459,40 Prepared By_

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Case 2:17-cV-05698-ER Document 1 Filed 12/19/17 Page 31 of 36

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 2:17-cV-05698-ER Document 1 Filed 12/19/17 Page 32 of 36

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 2:17-cV-05698-ER Document 1 Filed 12/19/17 Page 33 of 36

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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147 5/21/20 500.00 500.00 75.41 421 .59 95,519.15
""1'4`5 5/25/20 500.00 500.00 75.07 421 .93 95,097.23
149 9/4/20 500.00 500.00 77.72 422.25 94,574.95
150 9/11/20 500.00 500,00 77.35 422.52 94,252.33
151 9/15/20 500.00 500.00 77.03 422.97 93,529135
152 9/25/20 500.00 500.00 75.59 423.31 93,405.05
153 10/2/20 500.00 500.00 75.34 423.55 92,952.39
154 10/9/20 500.00 500.00 7500 424.00 92,555.39
155 10/15/20 500.00 500.00 75.55 424,35 92,134.04
155 10/23/20 500.00 500.00 75,30 424.70 91,709.34
157 10/30/20 500.00 500.00 74.95 425.05 91 ,254.29
155 11/5/20 500.00_ 500.00 74.51 425.39 90,555,90
159 11/13/20 500.00 500.00 74.25 425.74 90,433.15
150 11/20/20 500.00 500.00 73.91 425,09 90,007.07
151 11/27/20 500.00 500,00 73455 425.44 59,550.53
152 12/4/20 500.00 500.00 73.21 _ 425.79 59,153.54
153 1211 1/20 500.00 500.00 72.57 427.13 55,725.71
154 12/15/20 500.00 500.00 72.52 427445 55,299.23
__..1_.6,§. .` _.,.1.5.1_.2.,{?.5./.2,.9_ m ...,é?‘?§l~,?,?..W 0 2.§99.-99 _ ,. -. 1 `_..__7.?.:,1?1 ., . , .,_,‘333:§,§.3.,..,_§?.13.?,1_.;‘?.9
"155" 1/1}21 500.00 500.00 71.52 425.15 57,443'.`2`2
157 1/5/21 500.00 500.00 71 ,47 425.53 57,014,59
155 1/15/21 500.00 500.00 71.12 425.55 55,555.51
159 1/22/21 500.00 500.00 70.77 429.23 55,155.55
170 1/29/21 500.00 500.00 70.42 429.55 55,727.00
171 2/5/21 500.00 500.00 70.07 429.93 55,297.07
172 2/12/21 500.00 500.00 59.71 430,29 54,555.75
173 2/19/21 500.00 500.00 59.35 430,54__ 54,435.14
174 2/25/21 500.00 500.00 59.01 430.99 54,005.15
175 315/21 500.00 500.00 55.55 431 .34 53,573.51
175 3/12/21 500.00 500.00 55.31 431 .59 53,142.12
177 3/19/21 500.00 500.00 57.95 432.05 52,710:_0_7_
175 3/25/21 500,00 500.00 57.50 432.40 52.277.57
179 4/2/21 500.00 500.00 57.25 432.75 51.544.92
150 4/9/21 500.00 500.00 55.59 433.11 51,411.51
151 4/15/21 500.00 500.00 55.54 433.45 50,975.35
152 4/23/21 500.00 500400 55.15 433.52 50,544.53
153 4/30/21 500.00 500.00 55.53 434.17 50,110,35
154 5/7/21 500,00 500.00 55.47 434,53 79,575.53
155 5/14/21 500,00 500.00 55.12 434.55 79,240.95
155 5/21/21 500.00 500.00 54.75 435.24 75,505.71
157 5/25/21 500.00 500.00 54.41 435.59 75,570.12
155 5/4/21 500.00 500100 54.05 435_95 77,934.17
159 5/11/21 500,00 500.00 53.70 435.30 77,497.57
190 5/15/21 500.00 500.00 53.34 435.55 77,051.21
191 5/25/21 500,00 500.00 52.95 437.02 75,524.19
192 7/2/21 500.00 500.00 52.53 437137 75,155.52
193 7/9/21 500.00 500.00 52.27 437.73 75_,749.09
194 7/15/21 500.00 500.00 51 .91 435.09 75,311.00
195 7/23/21 500.00 500.00 51 .55 435.45 74,572.55
195 7/30/21 500,00 500.00 51,19 435.51 74,433174
197 5/5/21 500.00 500.00 50,54 439.15 73,994.55
195 5/15/21 500.00 500.00 50.45 439.52 73,555_05

 

 

 

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199__ 5/20/21 500.00 500.00 ____50.12 439.55 73,115.15
200 5/27/21 500.00 500.00 59.75 440.24 72,574.94
901 013/21 500 00 500 00 59.40 440.60 72,234.34
202 9/10/21 ' 500.00 500.00_ VVVVV 59.04 440.95 71,793.35
203 9/17/21 500.00 500.00 55.55 441.32 71,352.05
204 9/24/21 500.00 500.00 55.32 441 .55 70,910._3_5_
205 10/1/21 500.@ 500.00 57.95 442,04 70,455.34
205 10/5/21 500.00 500.00 ____“ 57.59 442.41 70,025.93
207 10/15/21 500.00 500.00 57.23 442.77 59,553.15
205 10/22/21 500.00 500.00 55.57 443.13 59,140.03
209 10/29/21 500.00 500.00 55,51 443.49 55,595.54
210 11/5/21 500.00 500.00 __ 55.15 443.55 55,252_59
211 11/12/21 500.00 500.00 55.75 444.22 57,505.47
212 11/19/21 500.00 500.00______ 55,42 444.55 57,353.59
213 11/25/21 500.00 500.00 55,05 444.94 55,915.95
214 12/3/21 500.00 500.00 54.59 445.31 55,473.54
21__5__ __ _ 12/10/21 500.00 500.00 54.33 445.57 55,027.97
215 12/17/21 500.00 500.00 _ _ 53,97 445,03 55,551.94
217 12/24/21 500.00 500.00_ 53.50 445.40 55,135.54
219 ' '¢1/7/22` 500.00 ` 500.00 52.57 447.13 ` 54,241.55
220 1/14/22 500.00 500.00 52.51 447.49 53,794.15
221 1/21/22 500.00 500.00 52.14 447.55 53,345.30
222 1/25/22 500.00 500.00 51 .77 445,23 52,595.07
223 2/4/22 500.00 500,00 51 .41 445.59 52,449.45
224 2/11/22 500.00 500.00 51.04 445.95 52,000.52
225 2115/22 500.00 500.00 50.57 449.33 51 ,551.19
225 2/25/22 500.00 500.00 50.31 449.59 51,101.50
227 3/4/22 500.00 500.00 49.94 450.05 50,551.44
225 3/11/22 500.00 500.00 49.57 450,43 50,201.01
229 3/15/22 500.00 500.00 49.20 450.50 59,750.21
230 3/25/22 500.00 500.00 45.53 451.17 59,299.04
231 4/1/22 500.00 500.00 45.47 451.53 55,547.51
232 4/5/22 500.00 500.00 45.10 451.90 55,395.51
233 4/15/22 500.00 500.00 47.73 452.27 57,945.34
234 4/22/22 500.00 500.00 47.35 452.54 57,490.70
235 4/29/22 500.00 500.00 45.99 453.01 57.037.5_9v
235 5/5/22 500.00 500.00 45.52 453.35 55,554.31
237 5/13/22 500.00 500.00 45.25 453.75 55,130.55
235 5/20/22 500.00 500.00 45.55 454.12 55,575.44
239 5/27/22 500.00 500.00 45.50 454 ._5_0 _ ______ 5 _5_,__2M
240 5/3/22 500.00 500.00 45.13 454.57 54,757.07
241 5/10/22 500100 500.00 44.75 455.24 54,311.53
242 5/17/22 500.00 500.00 44.39 455.51 53,555.22
243 5/24/22 500.00 500.00 44.0_2_ 455.95 53,400.24
244 7/1/22 500.00 500.00 43.54 455.35 52,943.55
245 7/5/22 500.00 500.00 43.27 4_5_5_._73 52,457.15
245 7/15/22 500.00 500.00 42.90 457.10 52,030.05
247 7/22/22 500.0_0_ 500.00 42.52 457.45 51,572.57
245 7/29/22 500.00 500.00 42.15 457.55 51,114.72
249 5/5/22 500.00 500.00 41.75 455.22 50,555.50
250 5/12/22 500.00 500.00 41.40 455.50 50,197.90
251 5/19/22 500.00 500.00 __ _ 41.03 455.97 49,755.93
252 5/25/22 500100 500,00 40.55 459.35 49.279.55
253 9/2/22 500.00 500.00 40.25 459.72 45,519.55

 

 

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254 9/9/22 500.00 500.00 39.90 450,10 45,359.75
255 9/15/22 500.00 500.00 39_52 450.45 47,599.25
255 9/75/9') 500 00 500 00 39 16 460 86 47 438 43
257 9/30/22 500.00 500.00 35.77 45__1_ .__2_3 45,977.20
255 10/7/22 500.00 500.00 35.39 451.51 45,515.59
259 10/14/22 500.00 500.00 35.02 451.95 45,053.51
250 10/21/22 500.00 500.00 37.54 452,35 45,591.25
251 10/25/22 500.00 500,00 37.25 452,74 45,125.51
252 11/4/22 500.00 500.00 35.55 453.12 44,555.39
253 _ 11/11/22 500.00 500.00 35.51 453.49 44_,201.90
254 11/15/22 500.00 500,00 _ _______ _35.13 453.57 43,735.03
255 11/25/22 500.00 500.00 35.75 454.25 43,273.75_
255 __1_2/_2/22 500.00 500.00 35.37 454.53 42,509.15
257 12/9}22 500.00 500.00 34.99 455.01 42_,344.14
255 12/15/22 _____ 500.00 500.00 _ 34.51 455.39 41 ,575.75
259 12/23/22 500.00 500.00 34.23 455.77 41,412.95
279 _‘ x12.{319{?:?_9 .§9.9:.0,9,.. . _....._.._ , ...__§"?992-99. ........ _u §.3.',?_§ .. ..f?.‘?`§-j § .,.,..,_,...59,»?§§.-§§
'2'71~" w '“1'/5/23 '500.00_'" ' ' 500.00 ' 3347 455.53 40,450.30
272 1/13/23 500:_00_ 500.00 33.05 455.92 40,013.35
273 1/20/23 500.00 500.00 32.70 457_30 39,545_05
274 1/27/23 500.00 500.00 32.32 457.55 39,075.40
275 2/3/23 500.00 500.00 31 .94 455.05 35,510.34
275 2/10/23 500.00 500.00 31.55 455.44 35,141.90
277 2/17/23 500.00 500.00 31.17 455.53 37,573.07
275 2/24/23 50000 500.00 30.79 459.21 37,203.55
279 3/3/23 500.00 500.00 30.41 459.59 35,734,27
250 3/10/23 500.00 500.00 30.02 459.95 35,254.29
251 3/17/23 500.00 500.00 29.54 470.35 35,793.93
252 3/24/23 500,00 500.00 29.25 470.75 35,323.15
253 3/31/23 500,00 500.00 25.57 471.13 34,552.05
254 4/7/23 500.00 500.00 25.45 471.52 34,350.53
255 4/14/23 500.00 500.00 25.10 471,90 33,905.53
255 ___4/21/23 500.00 500.00 27.71 472,29 33,435.34
257 4/25/23 500,00 500.00 27,33 472.57 32,953.57
255 5/5/23 500.00 500.00 25.94 473.05 32,490.51
259 5/12/23 500.00 500.00 2555 473.45 32,017.15
290 5/19/23 500.00 500.00 25.17 473.53 31 ,543.33
291 5/25/23 500.00 500.00 25.75 474.22 31 ,0_59_,_1_1
292 5/2/23 500.00 500.00 25.39 474.51 30,594.50
293 5/9/23 500.00 500.00 25.01 474.99 30,119.51
294 5/15/23 500.00 500.00 24.52 475.35 29,544.13
295 5/23/23 500.00 500.00 24.23 475.77 29,155.35
295 5/30/23 500.00 500.00 23_54 475.15 25,592.20
297 7/7/23 500.00 500.00 23_45 475.55 25,215.55
295 7/14/23 500.00 500.00 2305 475.94 27,735.71
299 7121/23 500.1@ 500.00 22.57 477,33 27,251.35
300 7/25/23 500,00 500.00 22.25 477.72 25,753.55
301 5/4/23 500.00 500.00 21.59 475.11 25,305.55
302 5/11/23 500,00 500.00 21 .50 475.50 25,527.05
303 5/15/23 500.00 500.00 21.11 475.59 25,345.15
304 5/25/23 500.00 500.00 _ 20.72 479.25 24,555.55
305 9/1/23 50__0_._00 500.00 20.33 479,57 24,359.21__
305 9/5/23 500_.90 500.00 19.93 450.07 23,909.14
307 9/15/23 500.00 500.00 1954 450.45 23,425,55
305 9/22/23 500.00 500.00 19.15 450.55 22,947.53

 

 

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309 _ _ 9/29/23_ v__5_00£0 500.00 v ________ 15.75 451.24 22,455.59
310 "1¢0'/5/~23'" ___500.00 500.00 1535 451.54 ___~_2_1,954.9__5_
311 10/13/23 500.00_ 50000 17.97 452.03 21,502.92
_ 312 10/20/23 ' 500.00 50000 17,57 ____________452.43 21,020.49
313 10/27/23 50@0 500.00 17.15 452.52 20,537,57
314 11/3/23* 500.00 500.00 15.79 453.21 20,054.45
315 11/10/23 500.00 500.00__ 1539 453.51 _ 19,570.55
315 11/17/23 500.00 500.00 15.00 454.00 19,055.55
317 11/24/23 500.00 500.00 15.50 454.40 15,502.45
315 1271/23 500.00 500.00_ _ 1520 454.50 15,117.55
319 12/5/23 500.00 500.00 14.5_1 455.19 17,532.45
320 12/15/23 500.00 500100 14.41 455,59 17,145.57
321 12/22_/23 500.00 500.00 14.01 455.99 15,550.55
323 1/5/24 " 500.00 ' 500.00 1322 455.75 , 7.7"2
324 1/12/24 500,00 500.00 1252 457.15 15,200.54
_ 325 1/19/24 500.00 500.00 12.42 457.55 14,712.95
325 1125/24 500.00 500.00 1203 457.97 14,224.99
327 2/2/24 500.00 500.00` 11.53 455.37 13,735.52
325 2/9/24 500.00 500.004_ 1123 455.77 13,247.55
329 2/15/24 500.00 500.00 10.53 459117 12,755.55
330 2/23/24 500.00 500.00 10.43 459.57 12,259.11
331 3/1/24 500.00 500.00 10.03 459.97 11,779.14
332 _____ 3/5/24 500.00 500.00 953 490.37 11,255.77
333 3/15/24 500.00 500.00 923 490.77 10,795.00
334 3/22/24 500.00 500.00 5.53 491.17 10,305.53
335 3/29/24 500.00 500.00 _____________ 5.42 491.55 9,515.25
335 4/5/24 500.00 500.00 5.02 491 .95 9,323.27
337 4/12/24 500.00 500.00 _ 7.52 492.35 5,530,59
335 4/19/24 500.00 500.00 7.22 492.75 5,335.11
339 4/25/24 500.00 500.00 5.51 493.19 7,544.92
340 5/3/24 500.00 500.00 5.41 493.59 7,351.33
341 5/10/24 500,00 500.00 5.01 493.99 5,557.34
342 5/17/24 500.00 500.00 5.50 494.40 5,352.94
343 5/24/24 500.00 500.00 520 494.50 5,555.14
344 5/31/24 500.00 500.00 4.50 495.20 5,372.94
345 517/24 500.00 500.00 4.39 495.51 4.577.33
345 5/14/24 500100 500.00 3.99 495.01 4,351.32
347 5/21/24 500.00 500.00 355 495,42 3,554.90
345 5/25/24 500.00 500.00 315 495.52 3,355.05
349 7/5/24 500.00 500.00 2.77 497.23 2,590.55
350 7/12/24 500.00 500.00 2.35 497.54 2,393.21
351 7/19/24 500.00 500.00 195 495.04 1,595.17
352 7/25/24 500.00 500.00_ 1.55 495.45 1.395.72
353 5/2/24 500.00 500.00_ 1 .14 495.55 597.55
354 5/9/24 500.00 500.00 0.73 499.27 395.59
355 5/15/24 395.92 395.92 0.33 395.59 0_00

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

